Case 2:C

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MICHAELIS, MONTANARI & JOHNSON, P.C.
GARRY L. I\»IONTANARL State Bar NO. 89?90
4333 Park Tel'rac€ Drive. Suite l 10

Westlake Village, CA 91361

Telcphone Nc).: (818) 865-0444

STEPHEN E. GRAUBERGER
Al'tomcy at Law (Prc) Hac Vice)
2323 N. Ml,. juliet Rd.

Mt. Juljet TN 37122

Tc|cphouc No.: (6] 5) 773-61 ]()
A{,lomejy‘$ for all named Det`endantS
Wl`th the exception OfBI`]]y Str;mge
and MCS I)|amtif`fs

UNITED S'I`ATES DISTRIC"]` (`OUR'l`
FOR T}-{E C'ENTRAL DISTRTCT OF CAI_TFORNIA

 

NAPSTER. INC.` a Delaware 7 ) Case #: CV 06-7285-DSF(SHX)
Corporatmn, and NAPSTIZR` L{)(_". a ) CONSOI¢ID_~\TF,D WIT|-l
D€lu\\';u‘e limn_ed. liability Compall_\'. ) L`ase #: (,`V ()7-229?~[)SF(5HK)
)
Pl;lintiff\'. ) FIRSTAI\'IENDED (`()f\l`l’L.~\_lNT F()R
) COPYRIGHT INFRINGEMENT
\‘. `) BY I\ICS PLAINTIFFS
)
M(`_`_S I\HESIC AI\-¢IER]CA` INC`., 21 )
(`ullfc)mi;l Corpc)r;ltmn; et ;1|. )
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Dcf`endants. )
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Firs[ Amendc‘£l Conlpluim for Copyright lnfriugemeut by I\ICS P]uimiffs

 

 

 

 

Case 2:

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l\/ICS MUSIC AMERICA, lN(`.l a
California CO nratioii; l\/lUSlC
CQPYRI_GH SOLUTIONS PLC, a
Uiiitcd KinUdoni business entity7
afb/n Sii_i\¢l`A Pnniisim\iG_
(`,OM_PANY; l\'IARK FARNER`
lndi\»'iduall\/, and d’bfa CRAM
RENRAFF COl\/IPAN`Y; DANNY
Sll\/IPSON. an iiidi\‘idiial, dib/a
DANNY SIMPSON MUSIC;
DAVID HOFFNER` an individual,
dib/a FlELDS OF AU'l`UMN
PU_BLISH]NG; CHARLIE BLA(`K.
ali iiidi\'idnal, d/`b/a SONGS IN
BLACK TNK; R GANT MUSIC
CiROUP. lNCORPORA'I`ED` a
Teniiessee co Oratii)n, d/b/a H,ELL(')
DARLIN’ SIC; CHARLES
LLOYD` individually and dib/a
FOREST FARM l\/IUSlC; DAR_[US
BROOKS, an individual dfb‘”a
FR()M Djs PEN; HAPPY SACK
i\/IUSIC. LTD., a Caiiadian business
enlil\', d.'b./a \-'“'ISA l\»IUSl(`; Sl
KAHN, lndi\'iduallv. and d/b-'a JOE
l‘llLL l\#lUSlC; LAURF.NCE WEISS.
lndi\'idually, and d/'b'a
Rl-l_lNliSTONE CO'\VBOY l\lUSlC
FO.; S`l,l,i MllSl(`, I,li(`. a Tc':iinessec
limited liabilityr Coii an\_', djb./‘a SLL
MUS_IC and l-FOR Y l\lUSlC
Tll\/l()'l`llY WILSON, an individual
d"b/a Tll\/'lOTHY C. WlLSON
MUSIC and Tll\'iOTHY WILSON
l\/lL,lSlC; DYYOR: INC.. a Calii"i')riiia
i:i)rporationij dfb/a Se\'en Ceniers
Pnblishiiw; and JOl`lN _
i»iCCiiT§i-ii§©i\i, inaiwauaiiy, and
d.\-"b/a APPALSUNGS and
APPALS_EHD l’RODUL."I`l()NS

Plaintil`f&
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i\`APSTER, li l(_`.. a D€la\\-'arc h
ci')i})i'n';itinn; and N_APS_TER, l,li(`. a
De a\\'arc limited liability Coin}i)an_\"'7

Dcl`€ndants.

 

Firsi Aiiiendi:cl C.Onipla.int for C`Opyrighi lniingenleiii by i\lCS Plai'ntii`fs

~_J"~_»‘\._r » .
~_/`~_,/_./~'\_r~_._'~._¢~.._,`_,"_.\_/\__,\,, v-._, ~._, __»\....,~._¢`/\_r-_,\_,»_r-._. -_» _¢\./-_F'\_-»\.._»~q_~`»_;\._r\_,\_~\_._¢~___,\__¢~_»\_z\_/~_._¢“__/\_/\__/\./

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pPS-CV-O7285-DSF-SH Document 128 Filed 01/04/08 Page 2 of 56 Page |D #:331

CASE NO.: CVO6~07285-DSF§SI Ix
Consolidate w./ _CVO'/-ZZQ?-DSP(S x)
Hc)n. T)ale S Fiscliei"

FIRST AMENDED COMPLAINT
F()R C()PYRIGHT
INFRINGEMENT BY l\lCS
PLAINTIFFS

 

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COl\'|E NOW the Plaintiffs, by and throuin counsel and for complaint
against Defendants Napster, lnc. and Napster. LL(` (hereinal`ter collectively referred to
as "Napster”) would state as l`ollo\\'s:

A. INTRODUC'I`I()N

1. r1`his L`omplaint is liled and these proceedings are instituted under the
United States Cop_\'right Actj 17 U.S‘C`. § 101 er seq. for copyright infringement and
injunctive relief and to reco\'ei', at Plaintiffs’ election, either actual or statutory
damagesj plus discretionary costs: reasonable attorneys fees and costs for Defeiidant”s
willful violations of the Act.

B. .lURlSDlCTlON & \*'ENUE

2. The subject iriatterjinisdiction of this C`oiut is invoked pin"suant to 28
U.S.(". § 1331 and 1338(;1). Personaljurisdiction is properiri tliatthe principal place of
business ot`defendants is in Los Arigeles, Califoriiia and said defendants have instituted
a consolidated lawsuit iri this Distiict. \-"'enue resides in thisjndicial distiictpursuaiit to
transfer ofthis action from the Urn`ted States District Court for the Midd|e District of

Teiinessee although plaintiffs reserve the right to challenge saine.

C. PARTIES
3. Plaintiff 1\/1C`S Miisic Anierica_ liic (hei'einafter "MCS") is a Califorrna

corporation With its principal place of business in i\lash\#'ille, Tennessee, 31th is a
copyright administration company that administers appro)iii'nately torty-five thousand

(45_000) copyrights and is the current or previous exclusive copyright and licensing

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First Arueudecl C‘oinplaint for Copyright lnfriugenicrit by 1\'1€8 Plaintitts

 

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administrator for each named Plaintiff, with the exception of Plaintifl` lohn
l\»'lcC`utchcon.

4. l\-'lusic Copyright LB`olutions PLC df’b/a Su-Ma l’ublishing Coinpany is a
corporation organized under the laws ofthe United Kingdom with its principal place of
business in London, England. l\'lusic Copyright Solutions PLC` is the parent ot`l\lCS
1\"1usic America, lnc.

5. Plaintiff l\lark Famer, lndii'idually and d/b:’a Crarn ReriraffConipany is

a citizen and resident of Michigan.

o. Plaintil`f[)arni§,' Simpson1 an individual d-"b:""a Danny Sinipson t\Iusic is

a citizen and resident of Tennessee.

7. _Plaintiff Da\'id Hoffner. an individual drb/a Fields of Autuinn

Publishiug is a citizen and resident ot"fennessce.

8. Plaintiff Charlie Blaclc an individual dfb-"a Songs ln B|ack ink is a
citizen and resident ot`Floiida.

9. PlaintiffR Gant Music Group, incorporated d./b.-*a Hello Darlin’ Music

is a Tennessee corporation

10. Plaintiff£`harlcs Lloyd. liidividuall§,' and d b,/'a `Forest Farin i\»lusic is a

citizen and resident of C ali fornia.

l 1 . Plaintift"l)arius P»rooks` an individual d "br"a From D’s Pen is a citizen

and resident oflllinois_

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liii'st Ainended Coinplaint for Copyi'ight liifringenient by l\lCS Plaiiitiffs

 

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12. Plaintiff Happy Sack l\/lusic Ltd., dfb/a Visa Mus‘ic, is a corporation
organized under thc laws ol`(`anada., with its principal place ofbusiness in `l`oronto,
Ontario, Canada.

13_ l’laintiffSi l<_alui. lndividually and df'b»"a loe Hill 1\#lusic is a citizen and
resident ol` North Carolina.

14. Plaintiff laurence Weiss. individually and d/'/ba Rhinestone C`o\\'boy
Music Co., is a citizen and resident oi`Teiinessee.

15. l°laintiff SLL Music, LLC, dib/a SLL 1\"1usic and I~Forty ivlusic is a
'l`einiessee limited liabilit}i conipan_\;'.

lo. Plaintift` Tirnoth}_' Wilson. an individual df'b:’a Timotliy C. Wilson
l\/lusic and Timoth}»T Wilson_ Music is a citizen and resident of Kentucky.

17. Plaintiff Dy’}'tir. lnc.. dib/a Se\'en Ccriters Publishing is a Califoiiiia

corporation

18. Plaintiff lolin McCutcheon, lridii'idually and djb»‘a Appalsongs and

Appalseed Productions. is a citizen and resident of Georgia.

19. Upon information and belief Defcndant Napster, liic.. is a l)elawarc
corporation with its principal place of husiricss in Calit`omia.

20. Upon information and belicf, Defendaiit l\|apster1 1.1,( `. is a l`)ela\i»-'are

limited liability company with its principal place ofbusiness in California.

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First Ainended Coinplaint lot Copyri'glit Iiifringeinent by MCS Plaintiffs

 

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D. FACTUAL ALLEGA TlONS

21. Napster operates internet music subscription and non-subscription
services located on the World Wide Web at \\-'ir'w.napster.coiri and free.napster.coirr
(collecti\ ely the "Napstet Ser\'icc"l.

32. 'fhe Napster Ser\'ice, in part allows consumers to selectively listen to
the entire sound recording of a selected musical work ria "On-Denrand Streams"j said
term being defined by the Napster l,icense Agreerirerit, a copy of which is attached
hereto as Ex|iibit “A”, as “on demand real time digital transmissions of sound
recordings using so-called streaming technology "

23. Thc l\"apstcr Ser\'ice\ in part. also allows consumers either during a
free trial period or upon pa_\‘rircirt ot`a monthly fec to Napstcr. tlrc ability to download
air unlimited nurrrber ol`sound recordings of musical works l`ronr the i\lapstcr computer
scr"\'cr'ls`) ira "Limitcd Do\\nloads"1 said term being defined by t|rc Napstcr Liceuse
./\grcemcnt. attached hereto as lixhil)it “A”, as "tlrc making and distribution ofsound
recordings by digital transmission to local storage devices (e.g.J the hard drive of a
user`s computer or portable de\iec"si`1 \'ia "lime limited or use limited downloads."

24. Sard Limited l)o\\nloads remain on the consuinei"s computer hard
drive as long as the free trial period is in effect or the subscriber pays to Napster the
monthly subscription fee

25.111 order to transmit, perforin. reproduce and deliver airy sorurd

recording of any musical vi oi'k ria L`On-Deniar;id Sti'eanis" or "Liniited Do\\'nloads"',

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First Aruerided Corriplaint for Copyrrglrt hifriirgenre.irt by l\ICS Plaintiffs

 

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Napster must first obtain not only the rights for the sound recordirig, but also the rights
for the underlying musical work.

2(). Plairrtiff MCS 1\1usic Anrerica, lnc., while not owning any of the
copyrighted works at issue herein. is the current or previous exclusive copyright and
licensing administrator for each named Plairitiff, with the exception of Plaintiff john
Mchtcheon. and, as exclusive licensing agent for a percentage of income, has a
beneficial interest iii the outcome of this litigation

27. Plaintiff lyiusic Copyright Solutions. PLC. d'b/a Su-Ma Publishing
Compan_v (hereinaftei' k`l\»'lCS_, PLC") is the sole legal or beneficial owner of the
following musical worl<(s) (Copyiight Registration No. following title):

i. "`Oh To Be Kept By tlesus” - EP 3(`)6271

28 MCS. PL(" is the exclusive holder ofall rights granted by 17 ll_S_C. §
ltlo in and to the musical work referenced iii Para graph 27 hereof.

29. The musical work referenced in Paragraph 27 hereof has been
registered with the United States Copyright Office, as evideirced by the corresponding
Certiticate of Copyright Registration, a copy of which is attached hereto as Exhibit
“_B_’ which is incorporated herein by reference

BU. Upon infomiation and belief_ without l`\-’IC`ST Pl,i("s authorization or
permission Napster has copied displayed performed made available for distribution
and distributed to the public via its "On-l)emand Streanis" and "l,inrited Downloads`“
on the Napster Seryice1 the following sound recordings las listed on the Napster

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First Aniended C`.ornplaint for Copyright lnt`rirrgerneirt by 1\-'1CS Plaintiffs

 

 

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Seiyice) embodying l\/ICS, PLC’s copyrighted musical work referenced in Paragraph 27

hereof:

Track Artist Albuin _

1511 lo Be Kept By .lesus iil§NE VIALE § l ight 'l`o This World

Oh 'l`o Be liept By _lesus Rcy. .lames Cleveland Tlris ls Gospel \r'ol. 26 -
Rev. .lames Cleveland- A

Oh To Be l<lept By lesus Rev. J ames Cleyeland Treasures§’The GoldenYears
OfThe King

Oh To Be Kept B_v lesus Reverend lames We Remember'.’The K_iiig

Clcyeland
31. Plaintiffly'latk Farner', lndividually and dr'b/a C`ram Renra ff Ct)rrrr)ariy'
(hereinafter "l~`airrer"") is the sole legal or beneficial owner of the following musical

worl\(s) (("op_vright Registration No. following title):
i. "Arn`t (_ionna Be 'l`lreir Fool No 1\/lore" (al<a C`r'ccpin`) f:U
418()74
ii. "Borderlinc" l`).f\l__l 512-380
iii. "Destitutc & Losin"` - l’A l-t)l3~477
iy. "Don’t Lic 'l`o 1\/1e`*`¢PAU437-783
\f. "L"l Salvador" - l’AU 437-781
vi. "Grecd ol` l\‘lan ('l`ell lyle)" _ PA l 111-377
vii. "lnnoeeut" s l).»\l_l 512-379
\'iii. "Stuck 111 'l`he 1\/1_iddle"` f PA l 19-378
32. liarner is the exclusive holder ofall rights granted by 17 U.S.C. § 106

iii and to the musical works referenced in Para graph 31 hereof

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First Anicirded Coriiplaint for Copj,riglit lnl`ringeiirerii by l\lCS Plaintiffs

 

Case 2:

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33. The musical works referenced in Paragraph 31 hereof has been
registered with the Uniled States (`opyright Office. as evidenced by the corresponding
L.`ertificates of Copyright Registratiorr, copies ofwhich are collectively attached hereto
as Exhibit “("’, which is incorporated herein by reference

34. Upon information and belief`, without li`amer’s authorization or
permission l\lapster has copied, displayed, performed made available for distribution
and distributed to the publicj via its “On~Dernand Streairis" and “Limited Downloads”
on the Napster Seryice. the following sornid recordings (as listed on the Napster

Seryice) embodying Faiiier’s copyrighted musical works referenced in Paragraph 31

hereoi`:

Track Artist _ i-\lbum _

1 reeprn" irrand Frrnk Railroad l lrrity fears of l:unk_77
tFeelin` Alright)

Ci'ecpin` (jrarid llunl\' Railroad 30 Years ol`f`uirk: 1969-

1999 The Ant.hology
13orderline (Album Version) Grand F rink Railroad Wliat`s Funk

Destitute And Losin` Grand Fruik Railroad Shinin’ On

Destitute And Losiir’ Grarrd Fiink 30 Years of Finik: 1969-
_ _ _ 1999 'l`he Antholog}'

Don`t lsie To lyle (Album Grand Funk Rarlroad What’s l:uril\:

Versron)

l;`l Salvador (Album Version) Grand Funk `Raih'oad \‘v'lrat`s Finrk
Greed of l\lan (:1\.1bnm \'ersion) Grand Fiurk Railroad Grand Funk Lives
lir_nocent (Album \"ersion) Grand F rink Railroad What`s funk

Sttick 111 Thc 1\'liddle (Album Grand Funk Railroad tirand Frrrik lsives
\-fersron)

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Pirst Anrended Conrplaint for Copyrrght lufringcrnent by MCS Plaintit’t`s

 

 

 

Case 2:

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tl$-cv-O7285-DSF-SH Document 128 Filed 01/04/08 Page 10 of 56 Page |D #:339

35. Plaintiff Darrny Simpson, air individual dib/a Dainry Simpson l\/lusic ,
and Plaintil`l`Tiirrothy C. Wilson, lndividually and d/l)i`a 'l`iinotliy C. Wilson Music and
limothy Wilson 1\1usic (hereinal`ter collectively referred to as "Sirnpson and Wilson”`)
are jointly the sole legal or beneficial owners of the following musical \vork(s)
(C`opyright Registration l\lo. following title);

i. "Brady Bill" _ PA 846-559
ii. “Dale _larrettis Cai"` - PA 846-559

iii. "Father-ln-Law" - PA 846»559

iv. "lrr God Arrd .»”\lan Greenspan We 'l`r'ust" l`)A 84()“551)
v. "l-ligh hlairrterrarrcc Woman” 4 PA 846-559

vi. “Smack Dab in Paradise” - PA 84()#559

vii. "`Too Stoned f`or Stur'gis" lJA 846-559

jo Simpson and `\`\"ilson are the exclusive holders ol`all rights granted by
17 l,,l.t>`.t`. § 106 iii and to the musical works referenced in Paragraph 35 hereof

37. lllie musical works referenced in Para graph 35 hereof has been
registered with the United States Copyright Office, as evidenced by the corresponding
Certifrcates of Cop}right Registration, copies of which are collectively attached hereto
as Exhibit “D"` which is incorporated herein by reference

33. Upon information and belicf, without Srnipson and Wilsons
authorization or permission Napster has copied, displayed performedj made available
for distribution and distributed to the publicj via its "On~Deniand Streams" and

"l_.iinited l)ownloads" on the Napster Scrvice, the following sound recordings ( as listed

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First Anrended Corrrplairu for Copyright lrrfringernc_nt by lleS Plaintifls

 

 

 

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on the Napster Service) embodying Wilson and Sinrpson’s copyrighted musical Works

referenced in Paragraph 35 liercof:

Track

Brady Bill (Gunfighter
V\-"rthout A (J`tnr)

Dale larrett’s Car
Father-ln-l .aw

High 1\/1aintenance W oman
ln (`iod & ,'\lan Grecnspan
Vt-"e 'l`riist

Smaek Dah ln Paradise

'¢l`oo Stoned llor Sturgis

Artist

Tim \Vilson

T im \`v'ilson

Tim Wi|son

Tim Wilson

’l`im \.\'ilson

Tim Wilson

'l`iiri \\'ilson

Alburn

1 Should`ve Married l\/l_v
lr`ather-ln-Law (ln God &
Alan Greenspan We Trust)

l Slrould’ve l\dari'ied My
Father-ln~lsaw (ln God &
Alan (jreenspan We 'l`rust)

l L§hould`ve Ma.rried My
Fatlrer-ln-l_aw (111 God &
Alan Greenspan We Trust)

1 Should’ve Married l\/ly_
Father-ln-l.a\v (ln God &
Alair Greenspan We Trust)

l Should`ve h'l;rr‘iicd My
l~`ather-ln~l_aw (ln God &
.A\lan Greenspan We l`rirst)

l Should’ve 1\¢1arried l\/ly
Fatherj~lnsl,a\v (lrr God &
Alair tireenspan \-\le 'l`rust)

l Slrould`ve l'\'lairred 1\/1y
Father-ln»l.a'»v (lii God &
i»\lan Greenspan We Ti'ust)

39_ Plaintiff David l-loffner, air individual and d"b/a Fields of Autumn

Pnblishing (hereinafter referred to as “l~loffirer”`; is tlrejoint legal or beneficial owner of

the following musical work(s) (C`opyrighf Registration No. following title):

i. “Bigr Rivcr tlllug lleml" _ P-"\ 045*403

ii. “Good Horses t'l?ki A`ttar)" _ pa 945_397

iii. "llarrress Your llorse .»'\nd (`ateh Tlre Wind (r\‘ttyng Derii)" - PA

945-405

iv. "Kar‘gyr'aa Rap tl`)urgen C`lrugaa)" f l)A 945-399

v. "Little Yuit On The Prairie tr\rt_v Sai_vyr)" - PA 945-4th

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First Arrrended Coinplaint for (`opyriglrt hifriirgernent by MCS Pl_aintilfs

 

Case 2:OE

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Kargyraa Rap Ondar Back Tuva Future

Little Yurt ()n Tlre Prairie ()ndar Back Tuva fiiiturc

My 'l`uva ()ndar Back Tuva Future

'l`lre Otlr_er Side Of'l`he Undar Back rfuva l"uture
Mountam

Tuva Groove Ondar Back Tuva Future

Where 7l'|as 1\"1y Counti"y Gone'.’ Ondar Back Tuva Future

43. Plaintiff Charlie Black, air individual and dib/a Songs fn Black 11'11<

(hereinafter referred to as cL13lack”) is the joint legal or beneficial owner of the
following musical work(s) (Copyright Registration No. following title):

i. "l\'lan With 14 l`\lemory - 1i‘\f'oman W ith A Past"` - PAU 2-1 76-266

44. Black. along with his joint owner. is the exclusive holder ofall rights

granted b_v 17 UiS.C. § 106 in and to the musical work referenced in Paragraph 43

hereof

45. The musical work referenced in Paragraph 43 hereof has been
registered with the Urrited States Copyright Office1 as evidenced by the corresponding
C`ertificate of (`opyright Registration1 a copy of which is attached hereto as Exhibit
ft which is incorporated herein by reference

46 llpon information and belief1 without Black`s authorization or
permission or that oftlrejoint owner. l\lapsterhas copied displayed performed made
available for distribution and distril;iuted to the pirhlic, via its "()n-Dernand Streams`1
and "Limited Downioads"` on thc Napster Service, the following sound recordirig(s) (as

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First Arnen_dcd Coniplaint for Cop_wiglrt lnfrirrgernenr by MCS Plairitifl`s

 

Case 2:0

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listed on the I\lapster Scrvice) errrbodyirrg Black`s copyrighted musical work referenced

in Paragraph 43 hercof:

Track Artist Allrum
l\/Ian With A l\lemory _loe Nichols Man \-‘\-’ith A l\"lernory
4?. PlairrtiffR Gant Mrrsic Grorrp Incorporated, d,-b/a llello Darlin` l\rlusic

(hereirraftcr "Gant") is the sole legal or beneficial owner of the following musical
\\r)r'k(s) ((`opyriglrt chistratiou No. following tit.le);
i. "Filleerr Year's Ago" -~ EU l42111 f EP 2857()5
ii. L`Frt`teerr Years (joing Up tAnd Orre Nigln Corning Do\\»'n)" 4 l’r\
210-276

iii. "l.lv'herr She Crrcs" tulsa She Needs Sorneone rl`o llold Her Wherr
She Cries) f EP 304-925

48. Gant is the exclusive holder ofal| rights granted b_v 17 U.S.C. § l06 in
and to the musical \\-'orks referenced in Paragraph 47 hereof

49. The musical \x-’orks referenced in Paragraph 47 hereof has been
registered \vitlr the United States Copyright Office, as evidenced by the corresponding
Certifrcates of Copyright Registration. copies ofwlrich are collectively attached hereto
as Exhil)it “ J`". \vhich is incorporated herein b_v reference

50_ Uporr information and beliefj without Garrt’s authorization or
permission Napster has copied displayed perforrned, made available for distribution
and distributed to the public via its "On-Dernand Strearns" and L`Lirnited Downloads"

on the F\lai)ster Sen-'ice. the following sound recordings (as listed on the Napster

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First Anrerrded Conrplaint. for Cop;~a'ight lnfringenrent by l\lCS Plairrtifl`s

 

Case 2:O

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Fifteen \' ears Ago
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Fi'fteen Ycai's Ago

Fifteeri Years Ago (Single
Version)

Fiftcen Years .#\go

Fr'fteeir_ Years G_oing l_lp (And
Une l\liglif t_`i)rirrrigl_)rr\\»'rr)

Shc l\leeds L§oine__one 'l`o llold
ller (\\'hen She L`,rres)

Slic l\lccds _Sorrrconc rl`o llold
ller When She Cries

Shc Needs Soincone 'l`o Hold
Her (\\’hen She Crres)

 

i. "A f)ifferent llounic_v"

Sequcncc”)"

Artist
l lie Statler Brothers

C on \vay Twitty
Corr\vay T\v'ifty

(_` `on \ya y T\yitty
Conway '|`Witty &
Loretta Lyirn

l)ar'ylc Siiigletai'y

George Strait
(`orr\vay T\yitt_\'
Con\\'ay `l`\\- itt_v

L`on\,\'ay 'l`\\»'itty

work(s) ((`op_yiight Registration l\lo_ following title):

Pr\ll 298-714

iv. "`Blues l~`or' O.'l`." 4 liU 842694

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ri-cV-O7285-DS|:-SH Document 128 Filed 01/04/08 Page 14 of 56 Page |D #:343

Seryice) eirrl)odying Gant`s copyrighted musical works referenced in Para.graph 47

All)um

Bed of Roses

Hello Darlin` 15 #`l flits
'l`lie_ \»"er'y-' Best OfCoiiway
Twitty

Oh Boy Classics Presents
Con\va_\' lf\vrtty

The (`.o_nwa_v T\vitty
Collection

Straight l?rorn The l"lcart

Flir'rriiicles f3 C`D F.conopal<l
llello f)arlin` 15 #l llits

The_ \""ci'_\-' Bcsf Ot`(`orr\vay
TWitty

Oh Boy cllassics Preseirts
Con\vay f`\yitty

51. Plaiirtiff Charles Lloyd, lndiyidrrally and d/l).»"'a Forest Farni l\/lrrsie

(hercinaftei' c‘l.loyd"), is the sole legal or beneficial owner of the following musical

Ell 77571(1/`1{1`1 563#31()

ii. "/\utunin Prelridc and ./\utuinn Echo (frorrr the suite "'Autrriirrr

iii. "Bird Fliglit" f EU 519()6 / RE 741-257

First Ar_rrcnded Cornpla_iirt for Copyright lnf:`ringenicnr by MCS PlaintiH`s

 

Case 2:C b-cV-O7285-DSF-SH Document 128 Filed 01/04/08 Page 15 of 56 Page |D #:344
1 v. “Dervislr Dance (fronr "‘Drearn Weayer")" -- PAU 298-709
2 vi. "Europearr Fairtasy" ~PA 103-582
3
4 vii. “l"orest Fl_ower" - l:`Ll 842694 /` PA 105-705
l viii. "(joiir` 'l`o l`\/leirrpliis"` ~ I)AU 298-710

ix. Hej Da - PA103~)83
7
8 x. "lsland Blues" - EU 775704 / RE 563310
9 xi. "Jouirrey Withiii" - PA 103-584
10 .. `, _
xii. "Kanna _ PA 103-380
1 1
12 xiii “l,ittle Arraliid`s Day" aka "'l`eirrple Bells" ~ PA 103-577
13 kiv. "Lonesorne Child’1 -» EU ?5702 /` RE 5633,()8
14 . a , .. a _ ,
Xv, "Lo\-'e Ship aka "D\»r-'i_ia" - EU 519 r3 » R_F. 74126(1
15
16 xyi. "llo\-'e Soiig To A Bal)_v`v f F.U 842694
17 xvii. “Loye-ln” aka "Long 'f`ririe Baby" -~ PA 103-578
18 ~. 1
xviii. "l\/lallet Dairce' - EU 842694
19
20 xix ccl\'fairhattan Carorisel” _ PA 103-581
21 xx. “~Mediraii@n" - EU sisei RE 74i255
22 _
xxi. "Meinphis Drres Again" - PA 1(`)3»579
23
24 xxii. "Memphis Green" ~ PA 1031-586
25 Xxiir. ‘~Passm‘ rimi" _ err rrsros /Rr; steam
26 _ l
);xr\-'. "Pre-f)awn" s- P.»\ 105~704
27
23 xxv. "Sornbrero Sairr" f;Ll C)'5550 r' RE 668230
l(r
First Anrendcd Corrrplaint for Copyright lirfringernerrt by MCS Plaintiffs

 

 

 

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xxvi. L‘Srrrr Yeir Yen"' 4 EU 775705 /' RE 56331_ `1
xxvii. "Sweet Georgia Bright" 4 l:`U 842694
xxviii. “Tagore” 4 EU 51‘)72 R_E 741-259
axix. "The Vulture" 4 EU 7'/570()/ RE 563312
san "Tribal Darice" 4 PA 103-576
Xxxi. "Voiee lri The Night" 4 EU 7757(17 / RE 563313
52. Lloyd is the exclusive holder of all rights granted by 17 U.S.C. § 106
in and to the musical works referenced iii Pai'agraph 51 hereof
53. The musical works referenced iii Paragraph 51 hereof have been
registered with the lliiited States C`op_\right Office, as evidenced by the corresponding
Certifieates of C`opyright Registration, copies ofvvh_ieh are collectively attached hereto
as Exhibit “H". which is incorporated herein by reference
54. llpoii information and belief without l_sloyd"s authorization or
permission l\lapster has eopied, displayed performed made available for distribution
and distributed to the priblic` via its c‘Oii-Demand Streams" and “Limited Downloads”
on the Napster Service. the following sorurd recordings (as listed on the l\lapster

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§er"v rlodj»rnrll)'_d eo)jv jl tel srcal ok refe er li ll gr”rpl al

hereof:

Track Artist _ All)rrm _ _

§ lji_fferent fourne_v (Albuni ir_,liico l-lairiilt.on § lliflerent Kiiid Oflouiiiey
`\/'ersion)

Arrtumn Sequence (LP Charles l§loyd Quartet Dream \\"eaver

Versioii)

17
first Aiirerrded C`.ompla.int for Copyright l_rifringcrr'rent by l\fCS Plaintiffs

 

Case 2:(lp-cv-O7285-DSF-SH Document 128 Filed 01/04/08 Page 17 of 56 Page |D #:346

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Bird l:liglit (LP Version)
Blues for O.T.

Drcar_n Weaver: l\leditati_r)rr,
Deryrsh Daiice (LP \/ersion)

European Faritas_v (l_P
\.»'ersion)

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(l_rve@/"l\/lorrterey)

Fo_rest Flower - Sumise
(Lrve@M onterey)

Forest Flower 4 Sunn`se-'”Forest

1*`1owei' 4 Surrset
Fo_rest__‘h`lower - Suiiset
(1-rve(u'l\/lonterey)

For'es_t Flower '69 [LP
Versron]

Forest Flower: Sunrise

Forest Flower

Forest Flower: Suirn`se/'Srrnset

Forest Flower

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(join' '1 o.l\lem rhis lslaiid
Blues (Live lri i oiway)

Hej Dal (l.P \r"'ersioir)

lslarrd B|ues (Album \/ersioii)

lsland Blues

.loumey llfithin (liive (a` The
Fi_lliiiore)

Cliarles Lloyd Quartet
Chico Harniltou

Charles floyd Qriartet

Cliarlcs lloyd Quartet

("hico llamiltou

Charles l.loyd

Charles floyd

(_`hieo Hamilton

Charles Lloyd
Cliarlcs Lloyd

Chico l larniltori

N_ate Mor Taanef_f
l,illleton/ rrrt'/: Wrse

Charles Lloyd
Buit Conrad All Stars

Burt Conrad All Stars

('flrarles Lloyd Quurtet

Charles floyd Quarret
Cliico Haniiltori
Cairrrr)iiball i»'\ddcrlcy

Charles Lloyd Quartet

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Drearn Wcaver
l\»farr From l`wo Worlds

l)reani Weaver
("harles lloyd in F_,urope

i\larr Frorii rfwo Worlds
Forest Flower: Charles
Lloyd At M orrterey

Atlantie fazz: lirtrospeetion

The lfouse Tlrat Trarre Built:
'fhe Stoiy of lmpulse
Records

l"`orest Flower: Llliarles
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Live ln Santa Barbara

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Forward Looki_i'rg
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Forward Looking ` _
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A l)ifferent liiird Ofl ourirey
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lourney \‘\"'ithin

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Karma (fP Version)
foiresonie Child

foiresoine Child: Song/
Dance (five gil llie l illrriorc)

fove lrr (fiye \l’ersion)
fove-lii i" lsland Blrres
fove Ship (LP \"ei'sioir)
f o\e Soiig To A Baby
(five F_storii;lrl‘ SSR)
fove Song To A Baby
Mal_let Daiice

Marrliattan Caiousel (fl’
Version)

Meniphis_ Dues Again - lsland
Blues (l ive \ eision)
l\~'lcrnphis (,`irccn

l\'femphis Green (l_ive gil

'l`|ie l*illrnorc)

l)assin' 'fhru

Prc-f)awir [fl" Vcrsion]
Soi'nbrero Sani (fP Version)
Sombrero Sam [LP Version]
Suri Yen Yeii (Album \"ersion)
S\v eel (jeorgia Biiglit tfive
Estonia fleR)

Ta gore (flJ Version)

'l`ein_ple Bells (fiye \»"'ersion)
The `\/ultru'e (Album Version)
/ / l

Charlcs floyd Quartet
Cliici) Hamilton

Charles floyd Quartet

Cliarles floyd erartet
(`harles floyd Quaitet

Charles floyd Quai'tet
Charles floyd Qriartet

C`hico Harniltoii
Chico Hamilton

C,‘liarles floyd Quartet

Char'l_es floyd Quartet

Tlrc lack Brot|rers

Cliarles floyd Quai'tet

Cliico Hani_i|ton
C`harles floyd

Cliarles floyd Quartet
Charles floyd Quartet
C`hico flamilton

f`harles floyd Quartet
Charles floyd Qriartet

Charles floyd Qriartet

Cl_rico Hariiiltoii

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lyf air Froni Two Worlds

Jouiriey Witliiir

fove-ln

rflie Flowering

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Charles l lo\d fn flre Soriet
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Man Froni Two Worlds
l\»'laii From Two Worlds

Clrarles floyd li'i Europe

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'l`hc lack Brot|rcrs (flellnas

louniey Withiii

i\'faii litem Two Worlds

Souiidti'aek

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f`liailes floyd ln llie lS`oviet

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Charles floyd iii Errrope

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First Amerrded Complaint for Copyriglrt infringement by l\fCS Plaintiffs

 

Case 2:O6-cv-O7285-DSF-SH Document 128 Filed 01/04/08 Page 19 of 56 Page |D #:348

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5 \?r)ice ln 'l`he l\liglit lfP f`liai'les floyd Souirdti'ack
\"'ersion]
b _
\-”oicc lii 1`1ie l\light C`harles floyd \"oice lii '1`lre l\light
7
8 55.Plaintiff Dariris l§)rooksj air individual d."bi'a Frorrr D’s Pen Mrrsic
9 (hereina.fter "Brooks”) is the sole legal or beneficial owner of the following musical
1(1
l l work(s) (C`op_\right Registration l\lo. following title);
12 i. “Yorrr Will" 4 PA 1202-948
13 , . . c . , h
56. Brooks rs the exclusive holder of all rights granted by l/ U_S_C § 106
14
15 iii and to the musical work referenced in Paragraph 55 hereof
16 57. The musical work referenced in Paragrapli 55 hereof has been
17 . . , . . . . .
registered with the llnited States (`opyrrght ()ffice. as evidenced by the corresponding
l 8
19 (`,ertificatc of Cirpy-Tiglrt Registration1 a copy of which is attached hereto as Exhibit

20 “I”_ which is incorporated herein by reference
58 lvlpon infoirrratioii and belief without Brooks` authorization or
permission l\‘apstcr has copied displayed performed made available for distribution

24 and distributed to the prrl)lie, via its "(j,)ii4Dciiiiiiid Str‘cairis"` and "fimi'ted Downloads"

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on the l\lapster b`ery'ice, the following sound recordings (as listed oii tlie Napstei'
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Seryice) embodying Brooks’ copyrighted musical work referenced in Paragi'aph 55
licr'eof`:
Tr'ack Artist All)urn
mill m Brooks Yo_u?`Will

59. l)laintiff l-lappy Sack l\lusic ftd.7 di'b"a `\'isa l\lnsic (hereirrafter
"Happy Sack") is the sole legal or beneficial owner of the f`i')llowing musical work(s)
(("opyr'ight Registr'ation l\lo. following title`):

i. “Skipper’s l:Bhres`j aka "Ashes By l\low`7 - Efl 722057 / P.»\ 1774

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off llappy Sack is the exclusi\c holder ofall rights granted by 17 ll S.C §
|Oo in and to thc rrrusical work referenced iii l’aragrapli 59 hereof

ol. 'l`lie musical work referenced iri llaragr'aph 59 hereof has been
registered with the flrritcd Statcs L`opyright Ollicei as evidenced by the corresponding
(jertilicate of f`opyright chislration, a copy of which is attached hereto as E_xhibit
:.1:, which is incorporated herein by reference

el lipori inforrrration and belief, without Happy blacks authorization or
permission Napstcr has copied displayed perforrrred, rriade available for distribution
and distributed to the public, via its "On-f)emand Strearrrs" and "fiiirited Downloads"
orr the Napster Ser\='icer the following sound recordings (as listed on the Napster'
Service) embodying Happy Sack’s copyrighted musical work referenced in Paragraplr

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First Arrrendcd Cornplairrt for Copyrrght lrifririgement by th`S Pl(iintiffs

 

 

 

 

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l Track Artist A|burn g
§§ shes By l\low |?odney Crowell l§ut W hat Will The
2 l\lerghbors fhrrrk
3 Ashes By l\low Rodney C rowell The Ro_dney Crowell
Collcctrorr
4 . .
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5 f)eiiroiistratroii) of fee Arrri \\’omaek \"\#'oiiiack v2
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l 1
12 63. l’lairitiff Si K_alrn. lndiyidually and db/'a loe Hill l\"lusic (hereinafter
}3 referred to as "Kahrrl`) is the sole legal or beneficial owner of the following musical
14
15 work(s) ((`op_vright Registratiorr l\lo. following title);
16 i_ “`Aragorr l\ifill" 4 f;l_l 424251 /RE 913-519 faka ‘“flelfast l\rfr'll"")
rr ._ . _ _

ri. Babysrtter 4 PA1135(1-897
18
19 iii. "By Tlre Side ()f The Road’j - PAll 615-047
20 iy. h`Cottoii l\./lill Blrres“- 151162162(),/ 1113,9134523
21 . -

v_ l)etrort f)ecember l)i§l,l 312~457
22
U \‘i. "1~`rierrd & Conipanlon" P.»\ 827~775
24 vii. "Gcricrations`1 l’r”\ll 1-181-407
25 . . , _ _

virr. "Gorng florrrg florrc" -1’14\1_1 921-869

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27 is. "Gorie Gonna Rise Agairi" 4 EU 424245
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First Arrrer_rded Corrrplaint for Copyright lrrfringernenr by MC`S Plaintiffs

 

 

 

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Ei-cV-O7285-DSF-SH Document 128 Filed 01/04/08 Page 22 of 56 Page |D #:351

c`Governirrerrt On lilorseback" PAU 344-367

"‘Here ls l\/Iy Home"` 4 PAU 615~047

“fawrerrce cloiresl` 4 1:`11 522384

"Lorig 'l`irrre Vfra\»’eling_ fong Time Fr'ierrrls" -- PA 300-794
“furay Woirrerr" 4 PAfl 615~047

l\'lississippi Sruririrer PAU 344-367
"Nobody"s Body But l\ilirre" 4 PAU 1-561-130
"People fike You"' 4 PA 108-153

Rock l`\le, Roll l\"fe PAU 344-367

Rubber Blubber Whale PAU 312-458
"Sigiis Of The lirnes" 4 PA 300-795
"Vr-»"elcoirre To The World"` 4 PAU 6154047
“What Will 1 feaye” 4 PAU 1-1314407

Wild Rose OfThe r\'lountain PAU 312-457

64. Kahn is the exclusive holder of all rights granted by 17 UiS C. § 106 in

and to the musical works referenced in Paragraplr 63 hereof

65. fhe musical works referenced iii Paragraph 63 hereof have been

registered with the llnited Statcs (`or_ryright Offrce_ as evidenced by the corresponding

(`errifieates of (`opyriglrt Registration, copies of which are attached hereto as Exhibit

“K”_ which is incorporated herein by reference

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First i\rriended Conrplaint for C`.opyriglrt lrrfriirgerrierrt by MCS Plairrtiffs

 

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66. Uporr irrforrriatiori and l)clief, without Kalrri`s authorization or

perriiissiori, l\lapster has copied displayed performed made available for distribution

and distributed to the prrblic, via its “Orr-Deriiarid Strearrrs" and "firrrited Dowrrloads"`

orr the Napster' Service, the follow-ring sound recordirrg(s) (as listed orr the l\lapster

Seryice) erribodyirrg Kahrr’s copyrighted musical works referenced iii Paragraph 63

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Aragorr l\fill

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Bclfast l\'lill
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Rosalie Sorre s

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Fir‘st Arnended Conrplairrt for Copyright lnti'irrgernent by MCS Plirintifl`s

 

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Belfast lvfill

Babysitter

By The Side Of Tlre Road
Cottoir l\»'fill Blues

Detroit, f)eceniber

Fr'ierrd Arid ("ompanion
Gerrerations

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Gone Gorrna Rise Again
Gorrc. (jonria Risc Agairi
Gover'mnerit ()n l-lorseback
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fong Tir_rre Tr'aveling, fong
1 rirre Frrends

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lolrn l\»l c C`utcheori
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\"ario us Artists
Varrous Artists

lolirr l\lcCutcheon

flot Soup
l\/lr. Sea Tea

lane Tabor And Tlre
Oyster Barid

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Marxer

Sharon_ l)iesseii
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Elleri lidson

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First .»\rnend ed

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Signs ofthe Times

Heartlr and Fire

W inter Solstice

Signs of the flores
Gerrerations

five at WolfTrap

Time Will fell Our Story
Rcdwood Cathedral

Signs of thc 'finies

Signs ofthe Timcs

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Of Tlie Coal l\/frner' s
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Freedorn Arrd Rain

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liar_rrily llare: Folk Songs for
Clrildr_eir and flierr
Farirrlres

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Molly and the Whale/Rubber .lohn McCutcheon flowjadoo

Blubber Whale

Rubber Blubber \\"hale lohrr lVlcCutcheori Water From Arrother Time
Signs of the 'l`imes _loh_ii l\/lcCuteheoir Sigrrs of the Times
Welcorrre To Tlre Wor'ld/ Johrr MeCrrtchcorr Signs of the Tirrres

Willie ` s Wa|tz

What Will l feave Cathy F ink & l\/farcy \loice Orr The W ind
l\-'far)ier
W hat W ill 1 feave Belrind Clrarlie Berrrhardt A Bridge Betweerr Two
Worlds
Wild Rose OfThe l\/fourrtairr Blrre Rose Rlue Rose
Wild Rose Olere l\/lountairr Butc_h Baldassari; Ap alaelriarr Marrdolin &
Davrd Sclrrraufler Du crrrrer'
Vv'i|d Rose Uf'l`he l\fourrtairr Hackerrsaw Boys Give lt_Back
erd Rose OfThe l\/lountairr lolrn l\-chutclreoii §he|Wrrrd That Slrakes The
ar cy
Wild Rose Of`Tlre lylourrtaiir l lolrrr l\fe(_"utcheon Water Fronr Ariother Tinre
erd Rose Ufl`he 1\/lourrtarrr
Wild Rose Of Tlre l\ilourrtairr Gcorgia l\/frrdcats Barcfoot in the llcrrhouse
arrd_ Other Southerrr
Delrghts

Wild Rose Of The l\/lountairr Crossirrg The Borders Crossing The Bo_rders:
Feltrc Folk l\rlusrc

67. Plaintiff Si Kahn. lrrdividirally and d/b"a loe Hill l\'fusic. and Plaintiff
lohn l\»lcCuteheorrt individually and d'bfa Appalsongs and i\ppalseed Productiorrs
('1rereirrafter collectively referred to as "K;ilrrr and l\flc(`ut'clreori") are jointly the sole
legal or beneficial owners of the following musical work(s) (Copyriglrt Registration
l\lo. following title):

i. "Apr'il Fool" l’.»§ 1-013-508

ii. "Baseball Orr Tlre B|ock"P.»\ 607-585, P.»\ 683-838/"1“/’4\ 1-060~501

26
Firsr Airrerrdcd C`orrrplairrt for Copyriglrt. lrrfririgenrent by 1\'foS Plainiifl`s

 

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“`Bigger Tlran Yorrrself"

“Bird Dog"

“C`a.rnpfire"

"Cauiping lri The Wilderrress"
“Dad & l\/le"

"Dar'k flair'ed Worriarr"
"f)ogs fif`e"

"`f`arnily (J`ardeir"
"Farrrily Reyiyal“
"Fislrin"`

"Friends Dorr`t fet Frierrds"
"Fr'ierrdsliip"

"Frog Oir A fog"

"Glrost of Tlre Good Old Days:`
“Going fo Tlre Prorn”
“Haircut”
"Hallow-'een"
"Happeried to l\/fe"
“Hope l Cair Make lt""
"l~-low l\/lany People"`
“l Got A Dime"

27

PA-1-060-496

P.»\ 934~926/PA 1-060-500
PA 9344926/1"1»'\ 1-060-500
PA 871-170

l’A 871-170

l’A 735-042

PA 1-013-508

PA 607-585. PA 683-888/1:’141 1-060-501

PA 607-585, PA 683-888.-"1’14. 1-060-501

PA ]-013-508

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PA-1-060-496

PA1-013-508

PA 1-060-494

PA 1-013-508

PA 871-170

PA 934-926!"1314\ 1 -060-5 00

PA 735~042

PA1-013-508

P.»’-\ 607-595 PA 683-8886'1’/\ 1»060-501

l)A- l -060-496

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“1 fove Surrimer”
“lce Cr'carrr l\/lan”
“lfl Rari Thc World"
"lrrraginary Fr'ierrd"
"lt`s Fall°`

".lurrk l\/lail"

"Kid Who Hates Srnrrrrrei""
"Kids Oir Strike“
"fabor Day"
"‘feftovers"

"fosers fike You"`
‘“l\/leteors""

“l\/lud"

"1\/1y Old l\/larr"

“Natural Disaster”
“New Kid ln Sclrool"
"l\lotliing To fose"
"Paiirt l\/le A Picture"
“Play Fair"`

"Power l\/lower"
"`Ridirig l\'l_v F$ike"

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PA 871»170

PA 871-170

P.»\ 607-5851 PA 683-888/"'1’7\ 1-060-501

PA 607-585. PA 683-8887137\ |-060-501

PA 934-926/1’.»§ 1-060-500
1’A 1-013-508

l)A 871-170

PA-l -060-496

l’A 934-926/PA 1-060-500
P/-\ 791-592

PA 791-592

PA 871-170

PA 871-170

PA 791-591

PA 934-926/PA ]-060-500
PA 934-926/"13/§ 1-060~500
l)A 791-592

PA 791-592
PA-l-060-496

PA 871-170

PA 871-170

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1 xl\i. C‘Running For President” PA-1-060-496

2 xlvi. “S’posed to Do" PA 735-042

: rilvii. "Safe at liorrie” PA~l-060-~196

5 leiii. L‘Sirig l\/le" PA-l -060~496

6 xlix. "Srrow lrr April" PA 1-013-508

; l. “Sorrreoiie Else f)ecide" PA-l-060-~'l96

9 li. "Soup" PA 791-624
m lii. “`Sprirrg Clearrirrg"` PA 1-013-508
11
12 liii. "Sprirrg Fever"` PA 1~013-508
13 liv. "Strck Together"" PA-l -060-496
iii lv. "Still The Ones For' l\/le" PA-l -060-~196

3
16 lvi_ L‘Srrnrnrer ls a-Conirrrl" PA 1-0134508"PA 1-060-494
17 1\'ii. “Swirrirrring llole" PA 871-170
:: lviii. "Tlrari_ksgi\i'ing Day" PA 934-926,"1’.»§ 1-060-500
20 lix. c‘The Pririciple” PA-1-060-496. PA-1-090-246
21 lX. ""The Way lt’s Supposed To Be"` PA 791 -592
22
23 lxi. "Walk Oii” PA 791-592
24 lxii. "\Nlratclragonrrabe" PA-1-060-496
25 rxrn. “w@iiraii er<e voir PA 735-043 'PA rose-494
:: lxiv. "“Norld Series ‘57" PA 934-926"PA 1-060-500
;g lxv. °`Write lt l)own" PA- 1 -060-496

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Frr-Si winnian coriipnr'rrr ror- copyright rrnr~irrgeriierri by rv»rcs Piiiiiir'rrs

 

 

 

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2 68. Kalr_n and l\/lcCuteheon are tlre exclusive holders ofall rights granted
3 by 17 U.S,C. § 106 iii and to the musical works referenced in Paragrap|r 67 hereof

4 69. Tlre musical works referenced in Paragraph 67 hereof have been
: registered with the flriited States Copyrr`ght Office. as evidenced by the corresponding
7 Ccrtificates ofCopyright Registratiorr. copies ofwlriclr are collectively attached hereto
8 as Erihibit “f”. which is incorporated herein by reference

70. Upon information and belief without l<ahrr and McCutcheorr`s
11 authorization or permission Napster has copied displayed performed made available
12 for distribution and distributed to the public via its “Orr-Dernarrd Streams” and
"firnited l)owriloads” on the l\lapster Service, the following sound recordings (as listed

15 on the Napster Serviee) errrbod_viirg Wilson and Sirrrpson’s copyrighted musical works

16 referenced iri Para graph 67 hereof:
17

Track Artist All)rrrrr
13 7\p_ril`l"'ool m'lc(`utclreon masons Sprirrgsorrgs
19 Baseball (__)rr The Block .lohn l\'lc(`utcheon Farriily (i:irtlerr
20 Bigger Tlran Yourself Johrr l\chutcheori Bigger Tlrarr Yourself
21 Bird Do g J olin lvlcCuteheorr F our Seasorrs: Autunrirsongs
22 f`arrrpfire lolui l\'lcf`utcheoir lloru' Seasorrs: Auturrinsongs
23 (`ampirrg ln r|`|re \\"ildcrriess lohn l\'lcf"utcheon Firrrr'Seasi)ris; Surirrirersoiigs
24 Dad 8c l\'le _lohn h"lcFrrtclrei)ii Four'Seasons: Srirrrrrrer'soirgs
25 Dark-Haired \\’omarr lolrri l\"lc(`utcheorr Bet\v eerr flre Eclipse
26 Dog's fife lohri l\lcCutclreori Four Seasons: Springsorigs
27 l:amily (r`arderr lohri l\'lc('f,`rrtcheorr l~`ariiily (r`arderr
23 Farrrily Revival _lolin l\lc(`utchcon Farnily Gardcrr

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Fishin'

Friends Don‘t lset Fricnds
Friendship

Frog On A Lo§_r

Ghost o l` the Good Old Da_\fs

Goin,§r To The Prorn
Hairc ut

Hallo\\'ecn
Happened To Me

Hope l l\/lake lt
|lo\\' l\'lany l’eople
l (`rot A Diine

l Love Suinniei‘
lce-Creani l\f'l an

ll`l Ran 'l`he World
linaginary Friend
lt's Fa|l

Junl< l\'”lail

l<lid Who Hates Sunrnrer
l~iids ()n St\'ike
labor l)a}=

l_abor Day

l,el`to\'ci's
Loscrs Likc You

l\/Ieteors The Perseid

lohn l\/lc(`.utcheon
John Mc(`.ul.chcon
lohn l\»'lcC utcheon
John McCutcheon

John l\/lcCutcheon

John l\'lcCutcheon
J olin Mc-Cutcheon

l olin l\'lcC utcheon
John l\"l cC utc-he on

John l\/lcC utcheon
.lohn l\lc£`utcheon
.lohn l\lc(`utcheon
John Mchtcheon
John l\lcCulcheon
.1 ohn l\~lcCulcheon
lohn l\lcC`ulcheon
J olin l\'lc(“utcheon
John h'lcCirtclreoii
John i\lcCutcheon
lohn l‘\~lcC`ntcheon
llohn l\lc("nlchcon

.1 ohn l\'IcC utcheon

lohn l\lcCutc-heon
lohn hileCutchcon

lohn i\»lc(hltchcon

31

Four Seasons: Springsongs
Bigger Tharr Yoursclf
Bigger Than Yourselt
Four Seasons: Springsongs
T hese Tinres We're

l_iving ln - A Red l-louse
AItrst _ Anthologv -
Feat_ur'ing _Greg _ Brown,.
Robin & lrrnda erhanrs t
Four Seasons: Springsongs

F our Seasons; Surnrrrersongs

F o ur Seasons: Aut_urnnsongs
Bet\\'een The Echpse

Four Seasons: Springsongs
l~`arnily (J`arden

Biggcr Than Yourseli`

Fonr Seasons'. S'uninrersongs
Four Seasons: Siunnrer'songs
Fanrily G arden

Fainily Gardcn

Four Seasons: Autunrnsongs
Foui' Seasons: Spi'ingsongs
Four Seasons: Suinrnersongs
Bigger 'l`han \”ourselt`
Foui‘ Scasons; Autuninsongs
Snpper's On The Tablc,..
E\'er_\'bod)' Conie ln
nothing lo Ltise

Nollring 'l`o Lr)sc

Fo ur Scasons: Sulninersongs

l"irsl Anlcnded Cornplaint FoJ C`opyright lnl`ringclnenl by MCS Plaintill`s

 

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Meteors/The Perseid

l\»’lud

l\/ly ()ld i'\lan
Natural Disaster
Ne'w Kid ln School
Nothing To Lose
Paint l`\»/'le A Picture
Play liair'

Po\\_»'er l\/lowe_r
Ridrng M_\;' Bike

l§<unnin<br For Presidcnl
Sat`e At Homc

Singr l\'le

Snow ln .»’-\pril

Snow ln April

Someone Elsc Decide

Sonp

S'poscd To Do

Spring meaningT
Springr Fe\'er

Stick 'l'og,ethcr

Still "l`hc Ones lior ;`\'le
Suninrer ls r»’\-(`oininibr
Sv»»'irnniing llole

Thanl<sgi\"ing Da}’

 

 

John l\/lc(`utcheon

J olin l\~‘lcCutcheon
.lohn l\'lc(.`utcheon
lohn l\#lc(_`utcheon
.lohn l\“l CC`utcheon
John l\/lcCutcheorr
John l\"lcCutcheon
John l`\'lcCutcheon

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.lohn l\»lc(s`utcheon

John hlcCiitclreoir

J olin McCutcheon

John l\lc("utcheon
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John l\'lcCutcheon
John l\'l cC utcheon
1 olin l\#lcCutcheon
John h'lcCiitclreoir
John l\'lcCutcheon

John l\'lc(:utcheon

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Supper's On The Table , __
Everybody Conre ln

F our Seasons: Surnmersongs
Nothing To L.ose

F our Seasons: Autiuunsongs
Four' Seasons; Annnnnsongs
Nothing 'l`o Lose

Nothing To Lose

Bigger 'l`han Yonrsell`

Four Seasons: Siu'nmersongs
Four Seasons: Sinnmersongs

Bigger Than Yourself`
Bigger Than Yourselt
Bigger Than Yourself
Fom' Seasons: Springsongs
Supper`s C)n 'l`hc 'l`able. ..
E‘»-"erybody Conie ln
Bigger 'l`han Yourselt
Supper's On The Table. ..
Fvcrybody (` ome ln
Bct\\'ccn 7l`hc Eclipsc

Fonr Seasons: Springsongs
Four Seasons: Spi'ingsongs
Bigger Than Yoursell`
Bigger' 'l`han Yourselt`
Four Seasons: Spr'ingsongs
Four Seasons: Siunniersongs

Four Seasons: Aununnsongs

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The Principle John Mc(`utcheon Bigger Than Yourself

The Principle John McC`utcheon Supper's On The Table. ..
Evcr_\/body Come ln

Walk On John McCutcheon Nothing To Lose

Way lt's Supposcd To Be John l\”lcCutchcon Nothing To Losc

Whatchagomrabe John h#'lcCutcheon Bigger Than Yourself

Wonran Like You John h-'lcCutcheon Between The Eclipse

World Series '5 7 1 olin lvlcCutcheon F our Seasons: Autumnsongs

Write lt Down John 1\#'1ct.`utcheon Bigger 'l`han Yourselt`

71. Plaintit`f laurence Weiss, lndi\'idually and d/b-”a Rhincstone Cowboy
1\/Iusic Co. thereinz'rfter "\A"ciss") is thc sole legal or beneficial owner of thc following
musical worl\'(s) ((`op}'right chistration No. following titlc):

i. "Your Baby Docsn`t _lso\c You An}'morc" - 1311 881000

72. Wciss is the exclusive holder ol` all rights granted by 17 U,S_L`. § 106
in and to thc musical \\orl\' referenced in ljaragraph 71 hereof

73. r1"he musical work referenced in l)aragraph 71 hereof has been
registered with thc L.l'nited States Cop}"rigl_it Ofticc, as evidenced by the corresponding
Certiticate. of Copyright. Registration, a copy of which is attached hereto as Exhibit
m’_’ which is incorporated herein by reference

74. Upon information and belief, without Wciss’ authorization or
permission, Napstcr has copied displayed performed made available for distribution
and distributed to the public` ria its "On-Demand Streams” and "Linrited Downloads”

on the Napster Ser\'ice. the following sound recordings (as listed on the Napster

3 3
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Service) embodying Weiss" copyrighted musical work referenced in Paragraph 71

hereof:

Track Artist Album _
Your Bab'\r Doesn’t Love l he 1 arperrters 1 arpenters Gold _- 33tlr
You Anymore Annr\'ersary Edrtron
Your Bab_v Doesn`t Lo\-'e The Carpenters Voices Of 1`he Heart

You Ariyrriore
75. Plaintil`f` SLL 1\/1usic, LLC, dsza SLI.J i`\/lusic and 1-Forty Music
therernafter referred to as "SLL") is theijoint legal or beneficial owner ofthe following
musical work(s) (Copyright Registration No. following title):
i. "Lor'rg Wet Kiss" f PA1,12-431-702 f PA 1-016-073
ii. "Slie Loved '1`he De\'il Out Ofl\/le"# PAU 2»~1{-11-585/1)¢5\1,12-592-
058 f' PA 1-088-63()/{13¢\ 1-127-015
76. SLL. along with its _joirit owrrers._ is the exclusive holder of all rights
granted by 17 U.S C. § 106 iii and to the musical works referenced in Paragraph 75
hereofl
77. The musical works referenced in Paragraph 75 hereof have been
registered with the United States Copyriglrt Offrce. as evidenced b}-' the corresponding
Certificates ofCopr\;-‘right Registratiorr a copy of which is attached hereto as M
“E. which is incorporated herein by reference
78. Upon information and belief without SLL’s authorization or
permission or that ofthe_ioirit owners, Napster has copied displayed performed made
available for distribution and distributed to the public_ \»'ia its "f)n-Dcnrand Streanis"`

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First Aniendcd C`omplaint l`or (`tipiriglrt lnl`ririgcmcnt by MCS Plaintill`s

 

Case 2:(F6-cv-O7285-DSF-SH Document 128 Filed 01/04/08 Page 34 of 56 Page |D #:363

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and L‘lriniited Downloads” on the l\lapster Service, the following sound recording(s) (as
listed on the Napster Service) embodying Sl,L`s copyrighted musical works referenced

in Paragraph 75 hereof:

Traek Artist Albuin
l,oiig W et Kiss 'l`racy lawrence l,essoiis learned
She l_aoved '1`1ie De\'il Oul Trac y l-awrence Tracy lawrence

Of 1\1e (Albruii Version)
79. Plaintiffliinotliy Wilson._ air individual d/bf'a l`iiiiotliy Wilson Music

(hcreinaftcr “Wilson") is the sole legal or beneficial owner of the following musical
wor'l\(s) (Copyriglit chistration No. following title):
i. "lt 'l`a_kes A \/illage t'l`o Raise A l\lut)" j1)_~'1 942-278

80. Wilsoir is the exclusive holder ofall rights granted by 17 U.S.C. § 106
in and to the musical work referenced in Para graph 79 hereof

81. rl`lre musical work referenced iii Paragrapli 79 hereof has been
registered with the United States Copyright Offrce, as e\'idcriced by the corresponding
Certiticate of Copyri'ght Registratiori, a copy of which is attached hereto as Exhibit
E. which is incorporated herein by reference

82. Upon information and belief, without V»-’ilson`s authorization or
permission. Napster has copied displayed performed made available for distribution
and distributed to the public, Via its "`On-Denrand Streanis” and "'Lirnited Downloads"

on the Napster Serricc. the following sornid recordings (as listed orr the Napster

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Service) embodying Wilsorr’s copyrighted musical work referenced in Paragraph 79

hereof:
Track Artist _ Alhuin
lt lakes A Village (To l irri erson lt s § Sorry World

Raise A Nut)
83. Plaintiff Dyyor, liic., dfb’a Se\»'en Ceiiters Publishing (hereinafter

“Dyyor"’) is the sole legal or beneficial owner of the following musical work('s)
(C`opyright Registratiori r\lo. following title):
i. c‘Sunburst” - PA 313-957

84. Dyyor is the exclusive holder ofall rights granted by 17 U.S.C. § 106
in and to the musical work referenced iii Paragraph 83 hereof

85. The musical work referenced in Paragraph 83 hereof has been
registered with the Uriited States (Topyright Offrce. as evidenced by the corresponding
Certifrcate of Copyright Registration, a copy of which is attached hereto as Exhibit
E’_’. which is incorporated herein by reference

86 llpon information and belief without Dyyor’s authorization or
pennission. l\lapstcr has copied displayed performed made available for distribution
and distributed to the public_ via its "On-Demand Strcams" and "Lnnited Dow»'nloads`1
on the i\lapster Ser\'ice. tlie lollowing sound recordings (as listed orr the Napster

Ser\'rce:l embodying 1_)yyor`s copyrigl_ited musical work referenced m l)aragraph 83

hereof:

Track Artist . Album _

Suiiburst Vlontana Skres M orrtarra Skres _ _ j
Sunburst Jonathan .»’\danrs `lorrathan /‘\dams: (juitarrst

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Toward The l\/Iillenrrium

Sinrburst John Goulart _ l
Sunburst Sean Kelly The #1_ Classrcal Guitar Album_
Sunburst lonatlian Adarns Guitarist: music for classical guitar
87. Plairrtiff John lylcCutcheorr, lndi\'idually and d/'b;`a Appalsongs and
Appalseed Productioiis (hereinafter “McCutcheon"’) is the sole legal or beneficial owner
of the following musical work(s) (Copyright Registratiorr No. following title):
i. "Ask Any Fanner” - PA 563-100

i. “Awful Hilly Daddy - Willie Trip" f PAu 1-232-9®3/’PA 360-712

,_r.

“Black Sea” PA 563-198

iii.

"Calling All Tlre Clrildreir Honre" PA 563-198

i\'.
\'. “Cauglrt ln The Crossfrre" PA 360-712fPAu 1-232-993

“Cliristnias ln '1`he l`rerrches” PAu 656-099

\'i.
vii. CiClaudette Colvin Goes to Work’7 PA 1-344-765
\»'iii. "Closirrg Tlie Bookstore" PA 1-316-52_
iX. “Copper River Boiince"` PA 563-198
X. c°Cup Of Coffec" PA 563-100
xi. c;Dad`s Got That Look" PA 1-060--199
Xii. “Dead l\/Iari\ll./’alking"` PA ]-316-520
xiii. ‘°l)earest l\/lrntha" PA 3()0-712/'P.Air 1-232-093
xi\: "f€ach Season lt's rfhc Sanre" PA 1-100-86|
x\'. “Good Ol' Girls" l)A 1-3~14¢752
xvi "Groundcd" PA 1-060-402

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“Half A World Away"
C‘Happy Adoption Day”
“Herc On Thc lslands"
`1ligh llear'ts"

"l-lours Al`tcr"

“lfl Were A Featherbed"
“1nimigrant"

"1s My Farnily"

L`lt`s the ljcononry, Stripid"
“‘rlericho?`

°‘Kiridergarten Wall"
‘“Know When To 1\-/lor'e"
"lsa l\/]ujer de Dorr l\/liguel"
“Larnerit"

“Lefty's Bar Toriiglit”
“Let's Keep lt Straight"
"Leviathan"’

c‘Little White Star"

"Long Way Back To Georgia"
"‘l\/lendirig Fences"

“l\/lolly And llie Whale"

33
First lAnicrided Complaint

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PA 1-100-861
PA 1-060-499
PA 1-100-861
Pi'\ 563-193
PA 563-198
PAu 656-099
PA 1-06()-492
PA 1-06()-499
PA 1-130-196
PA 1-316-523
PAu 1-232-993
PA 563-100
PA 1-3-14-755
PAu 657-285
PA 1-100-861
PA 1-060-492
PA 563~100
PA 1-060-499
PAu 657-285

PA 1-100-861

PA 235~756

for Copyi'ight lntringerncnt by 1\1CS Plaintiffs

 

Case 2:1

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“Music ln Yorir Handg»
ccl\lo Magi’~

C:1\10 Turning Back Now"
code 10 Coinmon Things"
hold Bl'own's l'lead liiglil"
"Old Coat"

alone Man`s 'l`rash"

anne wrong Alirr"

"One Thin Swinrsuit"
a()wn Backyal.d,`
"Phobias"

"Road to Bangor"

PAu 657-285/PA 360-712
PAu 657-285
PA 563-100
PA l-344v752
PA 563-198
PA 1-100-8~61
PA 563-100
PAu 65 7-285
PAu 657-285
PA 1-060--’192
PA 1-060-499

PA 1-060--192

"Robbing Peter To Pay Paul"' PA 360-712=/'PAu 1~232-993

"Roorii At `l`he Top Of'l`lre Stair"

"Room Here For Another"`
“Sail Away"

"Sarnc Sinall low-ri"
`“Santrago”

“She"’

“Si Se Puede”

“Starlight"

3 0

PA 1-060-492

PA 563-100

PA 1-3-14-752

PA1-100-861

PA 3 60-712"'13#\u 1~232-993

PAl-100-861

PA 1-060-492

PA1-316-520

First Amended Complairit for (`opyi'ight ln|`ringemem by l\lCS Plairiti|l_`s

 

Case 2:1

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“Stone By Stone”

“The Fanner ls Tlre Wr')nian’1

“'l`he Hea\»'en`s Wake"
"Tlre Pcrseid"

"Tlre Puiripkirr l\/ian”
“`Tlie Red Cor'vett.e"

`“'1`1ie Silver Ruir"

"'l`he Yourig ()nes l`)orr't Renrerriber"`

712/12Au 1-232-993
‘“l`l'iis Tinie Of Year"

LL'fra\'eling ln The V\-"ilderiiess"

"Water Frorri Another Tiine’°
“Waterrnelon"

L"We Sliall Rise”

°‘What lt‘s Li_ke”

“Where W ere You eren"
Lc\Nho`ll Rock "fhe Cradle"
“Willie's Waltz"

“Wish You Goodniglrt"

“Yesterday's Fools"

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PA 563-100
PA 360-7`12/PA11 1-232-993
PA 1~060~492
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PA 360d712/PAu 1-232-993
1)A 1-060-492
PAu 657-285
PA 360-
PA 563-100
PA 1-060-499
PAu 657-285
PA 1-060-499
PA 1-100-861
PA 563-100
PA 563-198
PA 1-060-492
PAu 656-000

PA 1-100-861

PA 563-198

88 Mc(`utclieon is the exclusive holder ofall rights granted by 17 1 l.S.(".

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§ 106 in and to the musical works referenced in Paragraph 87 hereof

First Airrendcd Conrplainl for t"opyright lut`ringerncnt byl\tCS Plainlill`s

 

Case 2:

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89. The musical works referenced in Paragraph 87 hereof have been
registered with the United States Copyright Offrce. as evidenced by the corresponding
C`ertificatcs of Copyriglrt Registration, copies ofwliicli arc attached hereto as Exhibit
I[. which is incorporated herein by reference

90_ Upoir irrl`onnatiorr and belief1 without 1\/1cCutcheoir’s authorization or
perirrissiorr. Napster has copied displayed performed made available for distribution
and distributed to the public, \/'ia its "‘()ir-Demaird Streanrs” and "Linrited Dowiiloads"
orr the Napster Seryice. the following sound recordings (as listed on the l\lapster

Seryice) eiiibod_virig l\/lcCutclieon’s copyrighted musical works referenced iri Paragraph

87 hereof:

Track Artist Alburn .

Ksli' .i§n_v Farmer lolm McCutclieon Wliat lt's Like

Awf_ul Hi_lly Daddy - John l\lcCutcheon l\/lail l\/Iyself To You

erhe '1`iip

Blaek Sea John l\'lct`uteheon Li\-*e At Wolf 'l`rap

Calling All 1`1re l olin l\-lcCutcheon Li\-’e At \Volf"l`rap

(`hildren l-lome

Cal_liiig All The Jolm h'lcCrrtclieorr Supper's ()rrTlre Table. ..

Cliildren llome E\~'ei'ybody Conrc lri

Caught ln Tlre (`rosstire John i\'lc(`utcheon Gonria Rise Again

C aught ln 'l`lie Crossfire 1 olin l\-lcCutcheon lVater Frorn Another Tinre

Cliristriias lii The C`oyote Run ’fend the Fire

Trenches

(`liristinas ln Tlre Darryl Purpose The Gift of the l\'lagi (aird other

Trenches seasonal storrcs)

C`hristrnas lir The Galipeau, Kerr Collection

'l`rciiches

(“hristmas lii The John l\'lc.(,`utchcon Water From Another lime
41

 

First Arnendcd C`oinplairrt for C`opyright lrrl`ringement by 1\1CS Plaintill`s

 

Case 2

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Trenches

_Christnras ln The
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Christmas ln The
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Christmas lrr The
Trenches

Christmas ln The
Trenches

Chiistmas lrr The
lreirclies

("`hristmas ln rl`lre
frenches

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'frenches

Chiistnias ln 'l_`hc
Trenclies

Christrnas ln '1`he
f rerrches

Clni stmas ln "l`he
Trenches

Christmas ln The
'l`renches

(`hiistmas ln Thc
Trenches

C`lrristinas 1nThc
Trenches

(.`hristmas 1n '1`1re
Trenches

Christinas ln ’l`he
Trer relies

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C 1a udette Coly'irr Goes

John McCutcheon
John Mc[)ermott
Kith & Kin
§l;irrti€§~?l,ea ly's "'1` he
Will Hoppey
Daniel Narducci

Damry Quinn

hlen of \\"oiih

Gcorgc llamilton 1\/'

Fua_r

lylolasses Creek
Men of Worth
Will 11 oppey
Various lArtists
Searnus l(cnnedy
lohrr l\"lcC`utcheon
lohn l\"chermott

John r\lcCutcheon

112

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Winter Solstice

Remembrance

Wintcr 1\/1 easurcs

"'1`he C`artel" - Songs 62 Tuires of
Ad\»'erirure and Loss

Acoustic

Christrnas Once More

Dainiy Quinn Li\-'e ln (`oncert

A \\"inter`s ("arol

Tlre_Liglrt Of 1`hc \\`orld
Chiistnras Keepsakes

1\1_usic ln '1_`he tj len

Deepwater

The Pattern Dance

Ekoostik

Fast Folk 1\"1usical hlagazine (Vol_
3, No. 81 Season`s Greetmgs

Bar Roorris 62 Bal_lads

hire At Woll"l`rap

A Time To Renieniber

r`\’liglitier `1`haii The Sword

First Anicudcd Coniplaint for C`opyright lnli'ingenrent by r\lCS Plaintifl`s

 

Case 2:

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©\DOC~_Jc\t/\.t_\.ca[\_i_

Closing The Bookstore

Copper Rover Bourice
(`up Of Coffee

Dad's Got That Look
Dead l\-“lari Walking

Dearest r\#lartha

Each Season lt's The
Saiiie

Featlrer Bed
Featherbed

Good Ol' Girls
("irounded

HalfA World Away
Happy ;~\dopt.ion Day
Happy r~\doption l)ay

Hea\--'eri's W a ke

llere ()n '1`he lslarrds
kliin Hearts

lfl \Vere A Featherbed
lfl Were A Featherbed
lfl Were A Featlrerbed
lfl Wcrc /\ 1"eathcrbcd

lrnmivrant lPreviously
l,lnrefeasedl

ls l\Iy Fanril_\'

 

 

John Mc(`utcheon

John Mc(`utcheon
John Mc€utcheon
1 olin l\/lcCutcheon

John l\'IcCutcheon

Jolm McCutclieon

John l\/lcCrrtcheon

Carawan Faniily

John l\/IcCutcheon
1 olin l\'lc(`.`utcheon
.lohn l\-'le(`utclieon
John i\=lc(`utcheoii
John 1\'1cCutcheon

John l\./lcf`utcheon

Jolm McCutclreon
John r\'lc(`utcheon
_lohri l\/lc(`utclreon
John r\#'lc(_`ntclieon
'l`horirasina

Thomasina

lolin h'lcC`utcheon

.lohn i\lc("utcheon

John l\'lcCutcheon

lt's the Economy. Stupid John 1\'1c(`utcheon

lt's the l§conomy. Stupid .lohn l\»'lcCiitcheori

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Supper's Ori The Table...
E\»'erybody Come 1n

Livc At WolfTrap
W hat lt's l.ike
Family Garderi

Supper's On 'l`he '1`ab1e . ..
Everybody Conre lri

Gonira Rise Again

Nothing To Lose

Home Brew

Water F rom Arrother Time
Mighticr Thaii '1`1re Sword
Four Seasons: LQriri'rrgsongs
Between The Eclipse
Fainily Garden

Supper's On `l`he '1`able...
Eyerybody Come lri

Sprout Wings And F ly

Noth_ing rfo lrose

l,iye At Wolf Trap

The Wind That Shakes The Barley
Holdiirg Back The 1\liglrt

1'lolding Back '1"hc Niglit

Signs Of'l`he rfimcs

Supper's Oii 'l`he 'l`able .
l:`\-"erybody Come 1n

liamily Garden
l\/liglitier Thari The Sword

Hail to the C`hieij and Other Slrort
Shelf-Life Classrcs

First Aniended (`,`oinplaint for Copyright llrt`ringenient by l\lCS Plaintill`s

 

Case 2:

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Jencho

Kindergarten Wall

Kindergarten Wall

Know When To l\/love

La_ i\’lu]'er de Doir
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Lefty's Bar Tonight

Let's Keep lt Straight

Leviathan
Littlc White Star
l,ittle White Star

lsoiig \1-`ay Back To

Gcorgia

r\1 ending Fences

l\"icnding Fences

l\/leteors"l`he Perseid
l\/leteors"l`hc Perscid
Molly And The Whale.-"
R ubber Blubber erale

r\/I usic ln Your 1 lands

No i\las
No i\flas.'

i\to Turiring Back No"w
Ode to Common Thiiigs

Old l$rown's Head Light

Old (`oat

John lvlc(`utcheon

lohn l'\/lcCutcheon
John l\’lcCutcheon
John l\/lcCutcheon

John MCCutcheoii

.lohn 1\1`cCrrtclrec)rr
John l\»lc(`ntcheon
John McCutcheon
John l\'lcCutcheon
John 1\'1c(`utchcon
Hey l\lomT

John l\flcCutchcon

.lohir Mc(`utcheon

.lolm l\»lc(`utcheon

John l\»"lcCutcheon

John h'lc(`utclreon

Llohn l\"lcCutcheon

John l\'lc(`utcheon
.lohn l\lc("utchcon
John 1\1cCutcheon
John i\'lc(_` utcheon
1 olin McC`utcheon
.l olin Met`utcheorr

.lo|in r\lc(i`utcheon

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L8ripper's On__The Table_ __
E\»'erybody L`onie ln

Mail MyselfTO You
Water From Another Time
What lt'S Like

Miglrtier Than The Sword

Signs Ofl`he Tinres
Notlring To lrose

Sigiis Of The Times
What lt's Like

Family Garden

Singing On ,»\ Star
Gonna Rise Again
Supper's On The Table ,,
l:`verybody (,`ome ln
Betwecn The Eclipsc

Supper`s On_The Table ,_
l:`yerybody t`onie ln

F our Seasons: Summcrsongs

Howjadoo

Signs Ot"l`he Tinres

Signs ()1"1`he '|`imes
Water Frorii Another rl`inre
What lt's Like

l\/lightier 'l`han The Sword
Live At Wolf'l`rap

`Bctwecn The lEclipsc

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Case 2:1

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One l\/lan's Trash
One Strong Arni
One Strong Arni
()rie 'l`hiri Swinrsuit
Own Backyard
Phobias

Pimrpkin l\'lan
Road_'l`o Bangor f

1\/lorrrson’ s

Robbin Peter To
Pay Paul

Room A_t The T_op Of
The Starr lPre\’iously

11 r'ir'eleascdl

Room llere l"`or Another

Sail Away

Sanie Sniall Town
Sannago

She

Si Se Puede

Starlight

Stone By Stone
'1`he Farmcr ls fhc
Wonran

The llours After
The Red Cory'ette
The Silver l{un

John McCutcheon
J olin l\/lcCutcheon
John i\-”IcCutcheon
J olin 1\’1cCutcheon
John l\/lcCutehcon
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John McCutcheon

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lohn 1\1cC`utclieorr

.lohn l\lc(`utchcon

J olin Mc(`utcheori
John l\'lcCutcheon

John l\~'lc(,`utcheon

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What lt's Like

Water From Another Time
Sigrrs Of The Tirnes

Signs Ot"fhe 'l`inies

Four Scasons: Sunrmersongs
Family Garderi
Autunrnsongs

Spro ut Wings And Fly

Step By Step

Supper's On The Table. ..
E\»'eryfl)tidy»' (`onic ln
What lt's Like

1\/11' gl'itier Than The Sword
Betweeri The Eclipse
Step By Step

Betweeir The 1;`clipse
Antumnsongs

Supper's On The Table. ..
E\='erybody (`ome ln
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Water Froin Another '1`inre

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Wilderriess

Water Froni Ariother
Trme

Water From Ariotlier
Tiriie

Water Froni Anotlier
Tiriie

l¢\r'atermelor_i
We Sliall Rrse

Welcoriie_To The
Worldf"erl ie's Waltz

Wliat lt's Like

W here Were You When

Wlio'll Rock Tlic Fradle

Wlio'll Rock The Cradle

Willie's Waltz
Wisli You Goodnight
Yesterday's Fools

Yesterday's Fools ~
John l'\/lc(`utcheon

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John McCutcheon

John hflc(jutcheori

1 olin McCutcheon

John 1\/1 c(`utclieori

John McCutclieon

The Rite of Spring

1 olni McCutclieon
John h'lc(`utcheori

J olin l\’lc(`utcheon

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.lohn i\-'lc(`utcheon

1 olni McCutcheon

.lolin lylcCutcheon
John Mct`utcheon
John h/lc(,`rrtclieon
John l\'lcCutcheon

tloliii h-lcCutcheori

Gonna Rise Agairi

Wliat lt's Like
b`arinly‘ Garden

Goriiia Rise Agairi

Water From Ano ther Tinie

Strangers To Cornrades

Farriily Garden '
Between The F,clrpse

Sigiis OfThe Tiriies

What lt's Like

l_ive At Wolf Trap
Supper's Oii The T able l l
Everybody (,Toiiie lli
Sprout Wiiigs Arid Fly
Wintcr' Solstice

Nothing To lose

Li\'e At WolfTrap

Raise the Roof- A Retrospective;
lsrve from The Barns at WolfTrap

91. lylcCutclieon is also thejoint legal or beneficial owner ofthe following

musical work(s) ((`opyriglit Registration l\io. follow ing titlc):

46

First Aniended C‘omplainr for Copyright infringement by l\lCS Plaintiffs

 

Case 2:

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i. "Our Flag Was Still There” 4 PA1-060-497

92. McC`utc|ieon, along with his_ioint owiier, is the exclusive holder ofall
rights granted by 17 UtS.C. § 106 in and to the musical work referenced iri Paragraph
91 hereof

93. The musical work referenced iri Paragraph 91 hereof has been
registered with the Uriited States Copyiiglit Oflice as evidenced by the corresponding
Certiticate of Copyright Registration, a copy of which is attached hereto as Exhibit
“_R`l. which is incorporated herein by reference

94. Upon information and beliefj without l\/lcCutclieon`s authorization or
perinissiori, or that ofthe joint owner, Napster has copied displayed performed riiade
available for distribution and distributed to the public, via its °`(`)ri~Deriiand Streanis'”
and CLlsiniited Downloads“ oii the Napster Ser\»'ice1 the following sound recording(s) (as
listed on the Napster Seryice) embodying 1\/1cCutcheon’s copyrighted musical work

referenced iri Paragrapli 91 hereof:

Track Artist Album
Our Flag \\'as Still There John 1\1cC`rrtclieori l\lightier Tliarr The Sword

95. 1\`apster did riot seek rior obtain permission or authorization from
l"lairrtiffs prior to copying l)laintiffs` copyrighted works onto Napster`s coriiputer

server(s) and riiaking said works available on the l\"apster Ser\'ice.

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Case 2:

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96. Napster continues to copy and make available additional sound
recordings of Pl_airitiffs’ copyrighted works via the Napster Service7 without Plairitiffs’
authorization or pcmrissiori, thereby further infringing Plaintiffs` exclusive rights

97. lri Septemberj 20057 l‘\lapster"s 12ublisliing l\/lanager` Robiri Schwartz,
sent 1\/1(`5` a form license agreement via e-niail seeking authorization and permission for
the use of tlie copyrights owned by Plaintit`t`s twitli the exception of l’lairrtiff tlohii
l\/lcCutcheon) on the Napster Service7 said license agreement being attached as Exhibit

98. Napster had knowledge at the time it rriade all unauthorized copies of
Plaintiffs’ copyrighted works that it was required to obtain authorization via a license
frorii l\/ICS twitli the exception of l\/IcCutcheoii) prior to its use of Plairitiifs’
copyrighted works on the Napster Service, as further evidenced by a series ofthree tB)
e-mails from Robin Scliwartz to Natliari Thompsorir a their employee ofr\'lCS, copies of
which are collectively attached hereto as Ex]iibit “S” and incorporated herein by
reference

09. Fuiiher; subsequent to the hling of this action, l\lapster"s Senior
Director C`orrtentr 1 ean C`liadwick` on February 271 2007 and again on lvlarcli 131 2007,
contacted 1)1aintiff .loliii ;\flct`utcheoii directly seeking authorization and perii'iissiori for
the rise ofthe copyrights owned by 1\/1cC` utcheon on the l\"apster Service. as evidenced
by the e-mails and accompanying form license sent by l\lapster collectively attached
hereto as F,_vliil)it “T”1 and incorporated herein by reference

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First Ameiided C`ompl.riiit for Copyi'ight lrrfringerrreiii by 1\1CS Plaintiffs

 

 

 

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100. Napster had knowledge at the time it made all unauthorized copies
of l\/lcCr.rtcheon’s copyrighted works that it was required to obtain authorization via a
license from McCutcheon prior to its use of his copyrighted works on the Napster
Servicc.

101 . Napster has made thc recordings embodying the copyrighted works
available to the general public for "Linrited Do\vnloads`1 and "On-Denrand Streanrs’1

without any compensation to Plaintiffs.
E. CAUSES ()F ACTI()N
FIRST JOINT CAUSE OFACTION
(C op_vright lnfr‘ingement)
102. ljlairrtiffs hereby adopt. reallege and incorporate by reference the
allegations contained in Paragraphs 1 through 101 above
103. Eaclr instance whereby a sound recording errrbodyirrg a copyrighted
work owned by Plairrtift`s was reproduced in copies onto Napster’s computer server(s)
for use orr the Napster Service constitutes a separate act of copyright infringement and a
separate violation of 17 U.S.C. 101. erseq.
104. Each of Defendants` acts of copyright infringement referenced
herein \vas willful \r ithirr the meaning of 17 U.S.C. 101. crscq.
105. P|airrtiffs have suffered economic damage and irreparable harm as a

result of Deferrdants` continuing acts of infringement

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First Arnended Conrplaint for Copyright |rrl`rirrgciucrrl by MC`S P|rr.iirtitfs

 

 

 

Case 2:1

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SECOND JOINT CA USE OFA CTION
(Copyright Infrirrgement)

106. Plaintiffs hereby adopt. reallege and incorporate by reference the
allegations contained in Paragraphs 1 through 101 above

107. Eaeh instance whereby a sound recording errrbodyirrg a copyrighted
work owned by Plaintiffs was displayed publicly arrd'”or made available for distribution
orr the Napster Servicc constitutes a separate act of copyright infringement and a
separate violation of 17 U.S.C. 101. er seq.

'|08. Fich of Deferrdarrts` acts of infringement referenced herein was
willful within the meaning of 17 tl.S.F_ 101r er seq.

109. Plaintiffs have suffered economic darrragc and irreparable harm as a
result of Dcfendant`s continuing acts ofinfringcrrrerrt_

THIRD JOINT CA USE OF ACTION
(Cop_vriglrt lnfringement)

110. 1)1ainti1`ts hereby adopt, reallege and incorporate by reference the
allegations contained in Paragraphs t through 101 above

1 1 1. 1:`ach instance whereby a sound recording embodying a copyrighted
work owned by 1’1aintift`s was distributed and/or rrrade available for distribution to the
public via "Limited Dowrrloads" from the Na_pster Service constitutes a separate act of

copyright infringement and a separate violation ot`17 U.S.C. 101 ._ erseq.

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First An'rcoded Cornplaint for C'opyright lrrtiirrgerrrerrr by MC`S Plaintiffs

 

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112. Each of f)efenda.nts’ acts of infringement referenced herein was
willful within the meaning of 1 7 U.S.C. 1017 etscq.

113. Plaintiffs have suffered economic damage and irreparable harm as a
result off)ctendant`s continuing acts of infringement

FOURTH JOINT CAUSE OFACTION
(Copyright lnfringement)

114. Plairrtiffs hereby adopt, reallege and incorporate by reference the
allegations contained in Paragraplis 1 through 101 above

1 15. Eaeh instance whereby a sound recording embodying a copyrighted
work owned by Plaiirtiffs was distributed and/or made available for distribution to the
public andjor performed publicly via “On-Demarid Sti‘eams" from the Napster Service
constitutes a separate act of copyright infringement and a separate violation of 17
U.S.C. 101. etseq.

116. Each of Defendairts` acts of irrfririgeirrent referenced herein was
willful within the meaning of 17 U.S.C. 101. et seq.

1 17. Plaintiffs have suffered economic damage and irreparable harm as a

result of Defeirdaiit`s continuing acts of infringement

F. PRA YER FOR RELIEF
WHEREFORE, Plaintiffs respectfully pray for judgment against the

Defeiidaiits for:

1. Copyright iirfriirgeirient for each instance whereby a sound recording

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embodying a copyrighted work owned by Plairitiffs was reproduced in copies onto
Napster"s computer server(s) for use orr the Napster Ser'vice;

2. Copyright infringement for each instance whereby a sound recording
enrl_rodying a copyrighted work owned by f’|aintiffs was displayed publicly and/or tirade
available for distribution orr the Napster Service;

3. Copyright infringement for each instance whereby a sound recording
er'ribodyiirg a copyrighted work owned by Plairitiffs was distributed and/or made
available for distribution to the public via c‘Limited Dowrrloads" from the Napster
Serviee;

4. Copyright infringeineirt for each instance whereby a soturd recording
eriibodyii'rg a copyrighted work owned by Plaiirtiffs was distributed arrd=»"or made
available for distribution to the public andt’or' performed publicly via "Orr-Demaird
Streams" from the Napster Service;

5. Willful copyright irihingement for each of the aforementioned acts of
copyright infringement referenced herein.

6. An Order requiring Deferrdarits to remove all infringing copies of
Plaintiffs’ copyrighted works from Defendarrt`s computer server(s`) and the Napster
Seri'ice:

7. Air Order requiring Deferrdarrts to deliver up for destruction all
infringing materials including all computers discs. drives or other storage media. that

contain infringing copies ofPlaintiffs’ copyrighted wor'ks;

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onrpla.int for Copyright hifririgemerit by MCS Plairitifl`s

 

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8. Arr award to Plairrtiffs, at their electioir, of either (i) actual damages and
profits derived by Defendants as a result of their infringing activities pursuant to 17
U.S.C § 5()4tb). or (ii) statutory damages in the nraxirnurir amount of$l§0,0UO per
each act of infringement of Plaintiffs` copyrighted works pursuant to 17 U.S.C. §
5tr4(c);

91 Arr injunction permanently enjoining Deferrdants and their respective
a gerits. ernployees, officers and directors, successors, licensees and assigns from further
irrtiirrgenrent of Pla.iritiffs` copyrighted works;

10, Discretiorraiy costs;

11. Reasonable attorney fees and costs:

12. For such other and further relief as this Court deems appropriate

DATE: January 4, 2008 l‘\IICHAlBLlS, h-IONTANARl & .lOHl\lSON

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By.' b MF / /MQW_

Garryr,`l;'. l\/.loiitaiiari'

Attoirrey for all named Deferidaiiis with the exception
of Billy Strarige, air lirdi\idual tb’b.f`a Bill_v Straiige
r\'Iusic and for l\'ICS Plaintiffs

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Firsi .Airrerrded (`orrrplaiirt for Copyright liiti'iirgcirrcnt by l\tCS Plaintiffs

 

 

 

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PROOF OF SERVICE

STATE OF CALIFORNIA )
C()UN'I`Y OF LOS ANUELES )

S.S.

1 airr errrployed irr the comity ofLos Arigcles, State ofCalifonria. 1 am over the
age of 18 and not a party to the within action; my business address rs 4333 Park
Terrace #1 10, Westlake \"'illage1 (7aliforrria 91361_

Ori the date set forth below, l served the foregoing document described as
Fll{ST AMENDED COMPLAINT FOR COPYR!GHT INFRINGEI\IENT BY
l\*lCS PLAINTIFFS orr the interested parties in this action by placing a true copy
tlrereofiir a sealed envelope with postage thereon fully prepaid rn the Urrited States
mail at Westlake Village, Califomra, addressed as follo\vs:

SEE ATTACHED SERVICE LIST

[Xj (MAIL) l deposited such envelope in the mail at Westlake \»`illage, Califoriria.
The envelope was mailed with postage thereon fully prepaid 1 am "readily farniliar"
with firm's practice of collection and processing correspondence for niailirrg. it is
deposited with U.S. postal service orr that same day in the ordinary course of
business 1 anr aware that on motion of party served service is presumed invalid if
postal cancellation date or postage meter date is riiore than l day after date of deposit
for mailing iii affidavit

[_1 (FEI)ERAL EXPRESS) 1 deposited such envelope at the Federal EXpress
office located at Westlake \'illage, (7aliforrria. Fl`he envelope was mailed fully
prepaid 1 am llreadily fariiiliar'1 with fiiirr's practice of collection and processing
correspondence for mailing with Federal Express. lt is deposited with the Westlake
village liederal Eitpress service orr that sarrre day irr the ordinary course of business
1 am aware that orr motion of party served, service is presumed invalid if cancellation
date is rrrorc than 1 day after date of deposit for overnight rrrailiirg irr affidavit

[X| (Federal) l declare that: [Xl 1 am employed iii the office ofa member ofthe bar
ofthis Court at whose direction this service is being made; or [ ] l am a member of
the bar ofthis Court. l declare under penalty ofper]ury under the laws ofthe Uirited
Statcs of.'~\merica that the foregoing is true and correct

_ (ELE(§`TRONI(T TRANSFFIR) l caused all of the pages ofthe above-
eritrtled docrurrerrt to be sent to the recipients noted below via electronic transfer
(FAX) at the respective telephone numbers indicated above

l declare under penalty ofpeijury under the laws ofthe State o|`(`aliforiria that
the foregoing rs true and correct

Executed orr .lanuary 41 2008 at Westlake Village._ Califoriiia.

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/B;y*bara llanssnrann. C(`lrS

 

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except Billy Strange

 

 

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PROOF OF SERVICE

STATE OF CALlFORNlA )
S.S.

COUNTY OF LOS ANGELES )

l am employed 111 the comity of Los Arive|es State of § alifoniia lam over the
age of 18 and not a party to the within action mv business address is 5309 1 2
Conrercio Way \\ oodlarrd liills Califomia 913()4.

Orr the date set forth below1 l served the foregoing doctniient described as
FIRST AMENDED COl\‘IPLAlNT FOR COPYRIGHT ll\lFRlNGEl\l ENT BY
1\1CS PL A`|'NTIFFS orr the interested parties in this action by placing a true copy
thereof 111 a sealed envelope with postage thereon fullv prepaid 111 the Ll rrited States
mail at W estlake Village. Califomia addressed as folld\\s

SEE ATTACHED SERVICE LlST

1 l (1\1 AlL) 1 deposited such envelope in the mail at Westlake \'illage, Calif`omia.
The env elope was mailed with postage thereon fully prepaid 1 am 'readily familiarlr
with firms practice Of collection and processing correspondence lor irraiiirrg. lt is
deposited with U S postal service orr that same day iii the ordinary course of
business l am aware that on motion of party served service is presinried invalid if
postal cancellation date or postage meter date is more than 1 day after date ofdeposit
for mailing iii afiidavit.

11 (FEDERAL EXPRESS) 1 deposited such envelope at the Federal EXpress
office located at Westlake \'illage (_alifomia The envelope w rs mailed fully
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correspondence for mailing with Federal Express. lt rs deposited with the Westlake
\’illage 1 ederal Expres_s service orr that sarire dav 111 the ordinary course of business
l am aw are that on motion ot party serv ed service is presumed iirv alid ifcaneellatiori
date rs riiore than 1 day alter date ot deposit lor o\erniglit mailing 111 aflidavit.

[X] (F`ederal) 1 declare that: [X] l am eriiplo\ ed 111 the office ofa member ofthe bar
of this Court at w hose direction this service is being made; or [ ] l am a member of
the bar ofthis Couit 1 declare under penalty ofper_rurv under the law s ofthe Uirited

States ot 41merica that the foregoing rs true and correct

[)\'| (PERSONAL SER\'ICE) l caused such envelope to bc delivered by
hand to the offices ofthe addressee

l declare under penalty ofperjiu'y under the laws ofthe State of(`alifornia that
the foregoing rs true and correct

Executed orr clairuai'y 4_ 2008 at Westlake \"illage. Califorrria_

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» .losh Rappapoi't

 

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1 SERVICE LIST

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